May-15-09 C@S@@:07G¥-06470-MAT-MWP Document 15-2 Filed 05/18/09._,Page,1.ats F644

EXHIBIT A
DELPHI CORPORATION

REVISED POLICY (CONCERNING MEDICAL INQUIRIES TO
SUBSTANTIATE NON-'VWORK-RELATED INJURIES, ILLNESSES OR
DISABILITIES
ES FECTIVE MAY --, 2009

Delphi Corporation (“Delphi”) has the managerial right to ensure that its employees are
not absent from work without reasozable cause. Accordingly, when Delphi attempts to
substantiate employee absences due to non-work-related injuries, illnesses or disabilities, it may
require employees to provide a noie or other written communication si gned by a physician stating
that the physician examined the ernployee on a particular date and determined that the employee
was not able to perform his/her norrial job duties on each of the dates that the employee was
absent. Delphi will not require anything more than this physician’s note or written statement to
substantiate an absence due to non-werk-related injury, illness or disability, except in the
following situations:

1. For employees whe in the preceding eighteen months have been absent from
work due to illness/disability on at least eleven (11) instances (an instance is an
occasion on which ar. employee is absent, regardless of the number of days of the
absence), Delphi maz require a statement from the employee’s physician
describing the employees’ diagnosis, symptoms, and medical incapacity and may
require medical records or other appropriate medical verification of the

employee’s diagnosis, symptoms, and medical incapacity. Note: Approved

 

FMLA leave and abs2nces authorized as a “reasonable accommodation” under the

12
May-18-09 GASB, 0:0 £-Gy-06470-MAT-MWP Document 15-2 Filed 05/18/09.),Page,2/Qb 5 gga,

ADA will not be cor sidered in deciding whether an employee falls within this
exception.

ef For employees with ive (5) or more absences within the past nine (9) months that
extend weekends, vaczations, or holidays or appear to be related to-major sporting
events or other matters not related to Delphi business, Delphi may require a
statement describing the employee’s diagnosis, symptoms, and medical incapacity
and may require mecical records or other appropriate medical verification of the
employee’s diagnosis, symptoms, and medical incapacity. Note: Approved
FMLA leave and absences authorized as a “reasonable accommodation” under the
ADA will not be corsidered in deciding whether an employee falls within this
exception.

Any request for information or records describing an employee’s diagnosis or symptoms that is
permitted by and made pursuant to :his Policy shall be made by a physician or other licensed
medical personnel employed by, or otherwise retained to provide services to, Delphi. Delphi
may also require an employee to sigm a release that complies with all applicable federal, state or
local laws, authorizing Delphi to ot tain information and records as authorized by this Policy.
NOTE: There are other situations <nd circumstances where Delphi may be permitted to make
inquiries about an employee’s medical condition, provided that those inquiries are job-related
and consistent with business necessity under the ADA (for example, inquiries related to the
administration of its benefit plans or leave of absence policies as well as inquiries required or
permitted by the Family and Medical Leave Act and its implementing regulations or required or
permitted by any other applicable lews or regulations). This policy does not apply to those

situations and circumstances.

13
May-15-09

GARR OO % Gy-06470-MAT-MWP Document 15-2 Filed 05/18/08); Page, 3QF 5 p-ga4

EXHIBIT B

Employee ID Numbers for (Current Delphi Employees Identified Pursuant to

 

Section 202(b) of the Consent Decree:

Dale F-C: 7081283
Daniel A: 7017555
James S: 7030264
Jeffrey P: 7036558
Heidi M: 7001322
Jeffrey L: 7008382

14
May-15-09

Gase,6:074Y-06470-MAT-MWP Document 15-2 Filed 05/18/08; Paget 5 F-544

Exhibit C

NOTICE TO ALL U.S. SMPLOYEES OF DELPHI CORPORATION

The U.S. Equal Employment Opportunity Commission (EEOC) and Delphi Corporation have

entered into a Consent Decree settlinz SEOC allegations that Delphi made medical inquiries in relation to
employee absences from work that violated the Americans with Disabilities Act (ADA). Delphi denies any
ADA violations, and there is no finding or admission of liability in the Consent Decree. Pursuant to the
Consent Decree, however, Delphi, has agreed to take certain actions regarding medical inquiries.

Under the ADA, employers ere prohibited from making medical inquiries that are not job-related

and consistent with business necessity, The ADA also prohibits retaliation against any employee who files
a charge of discrimination, who opposes unlawful activity, or who cooperates in the investigation of a
charge or otherwise exercises her or his rights under the law.

The terms of the Consent Decree provide that Delphi:

1,

Nv

Refrain from making medical. inquiries that the ADA prohibits and from retaliating against any
person who claims that Delpii has made a prohibited medical inquiry,

May continue to substantiate «nployee absences due to non-work related injuries, illnesses or
disabilities by requiring employees to provide a note or other written communication signed by a
physician stating that the physician examined the employee on a particular date and determined
that the employee was not able te perform his/her normal job duties on each of the dates that the
employee was absent, but may not make additional medical inquiries to substantiate absences duc
to non-work-related injuries, illnesses, or disabilities, except under certain specified circumstances;

Adopt and distribute a policy ¢escribing circumstances under which Delphi may make medical
inquiries in relation to absences due to non-work-related injuries, ilinesses, or disabilities;

May continue to make inquiries which are job-related and consistent with business necessity under
the ADA (including inquiries related to the administration of its benefit plans or leave of absence
policies as well as inquiries rec.uired or permitted by the Family and Medical Leave Act). The
Consent Decree does not apply to those situations and circumstances;

Provide training to certain current and future employees on the ADA’s prohibition on medical
inquiries, the policy on medical inquiries, and the procedures for asserting employee concems or
complaints about improper medical inquiries;

Insure that employee medical information is stored separately and in a manner that it is only
accessible to certain designated officials;

Expunge records of disciplinary action allegedly taken against certain employees because of their
failure to comply with a request from Delphi to provide or release medical information to
substantiate an absence due to a non-work-related injury, illness, or disability, if that request would
not be permissible under the ADA;

15
May=15+09 GASE,0-0 fcv-06470-MAT-MWP Document 15-2 Filed 05/18/09 ,,Page 9,065 cca,

8. Permit EEOC to monitor Delphi’s compliance with the Consent Decree;

9. Provide periodic reports to EEOC regarding any discrimination complaints made by
employees relative to allegedly irsproper medical inquiries;

10. Pay the individual! claimant an agreed upon sum in settlement of his allegations;
11. Post this Notice and make the policy available to all employees.
Should you have a complaint of discrimination or harassment you may contact:

U.S. Equal Employment Oppo-tunity Commission
33 Whitehall Street

New York, New York 10004

New York Status Line: (866} 408-8075

New York Direct Dial: (212) 336-3630

TTY (212) 336-3622

Website: http://www.eeoc.g0-7

You may also contact the Personnel Director for your facility or your union representative.

Dated: May __, 2009

THIS IS AN OFFICIAL NOTICE AND MUST NOT BE ALTERED OR DEFACED BY ANYONE
OR COVERED BY ANY OTHER MATERIAL

This Notice must remain posted for two years from the date shown above and must not be altered,
defaced, or covered by any other material. Any questions concerning this Notice or compliance with its
provisions may be directed to the U.S, Equal Employment Opportunity Commission at the numbers listed
above.

16
